91 F.3d 167
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.NORTHEAST AIR GROUP, INC., Plaintiff-Appellant,v.The UNITED STATES, Defendant-Appellee.
    No. 96-5038.
    United States Court of Appeals, Federal Circuit.
    May 3, 1996.
    ORDER
    
      1
      Upon consideration of the fact that counsel has not entered an appearance on behalf of Northeast Air Group, Inc. in accordance with the court's April 11, 1996 order,
    
    IT IS ORDERED THAT:
    
      2
      (1) The appeal is dismissed.
    
    
      3
      (2) The United States' motion for summary affirmance is moot.
    
    
      4
      (3) Each side shall bear its own costs.
    
    